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AO 245B (Rev. 12/03) Judgment in a Criminal Case: Sheet 1



                             United States District Court
                              SOUTHERN DISTRICT OF ALABAMA


        UNITED STATES OF AMERICA                            JUDGMENT IN A CRIMINAL CASE
                      V.
        LATOYA MCKENZIE
        a/k/a Latoya Nefateria McKenzie                     CASE NUMBER: 1:05-CR-00180-003
                                                            USM NUMBER: 09114-003

                                                            Neil L. Hanley, Esquire
                                                            Defendant's Attorney
THE DEFENDANT:
(X) pleaded guilty to count 1 of the Indictment on 7/20/2005 .
() pleaded nolo contendere to count(s) which was accepted by the court.
() was found guilty on count(s) after a plea of not guilty.
The defendant is adjudicated guilty of the following offenses:
                                                                                   Date Offense          Count
Title & Section                Nature of Offense                                   Concluded             No.(s)
18 USC § 1956(h)             Conspiracy to launder drug money.                     12/2003                1



      The defendant is sentenced as provided in pages 2 through              of this judgment. The sentence is
imposed pursuant to the Sentencing Reform Act of 1984.


()      The defendant has been found not guilty on count(s)              .
()      Count(s)     is/are dismissed on the motion of the United States.

        IT IS ORDERED that the defendant shall notify the United States Attorney for this district
within 30 days of any change of name, residence, or mailing address until all fines, restitution, costs, and
special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the defendant
shall notify the court and the United States attorney of any material change in the defendant's economic
circumstances.

                                                               February 8, 2006
                                                               Date of Imposition of Judgment

                                                               /s/ Callie V. S. Granade
                                                               CHIEF UNITED STATES DISTRICT JUDGE


                                                               February 8, 2006
                                                               Date
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                                                                                                                        Judgment 2
AO 245B (Rev. 12/03) Judgment in a Criminal Case: Sheet 4 - Probation
Defendant: LATOYA MCKENZIE, a/k/a Latoya Nefateria McKenzie
Case Number: 1:05-CR-00180-003
                                                      PROBATION
The defendant is hereby placed on probation for a term of 5 years

SPECIAL CONDITIONS: SEE ATTACHED.

For offenses committed on or after September 13, 1994:
        The defendant shall refrain from any unlawful use of a controlled substance. The defendant shall submit to one drug
        test within 15 days of placement on probation and at least two periodic drug tests thereafter, as directed by the probation
        officer.
        ()        The above drug testing condition is suspended based on the court’s determination that the defendant poses a
                  low risk of future substance abuse. (Check, if applicable)
()      The defendant shall register with the state sex offender registration agency in the state where the defendant resides,
        works, or is a student, as directed by the probation officer. (Check, if applicable)
()      The defendant shall participate in an approved program for domestic violence. (Check, if applicable)
(X)   The defendant shall not possess a firearm , destructive device, or any other dangerous weapon.
(Check, if applicable)
If this judgment imposes a fine or a restitution obligation, it shall be a condition of probation that the defendant pay any such fine
or restitution in accordance with the Schedule of Payments set forth in the Criminal Monetary Penalties sheet of this judgment.

The defendant shall not commit another federal, state or local crime.
The defendant shall not illegally possess a controlled substance.
The defendant shall comply with the standard conditions that have been adopted by this court (as set forth below).
The defendant shall also comply with the additional conditions on the attached page (if applicable).

                            STANDARD CONDITIONS OF SUPERVISION
1) the defendant shall not leave the judicial district without the permission of the court or probation officer;
2) the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five
         days of each month;
3) the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the prob. officer;
4) the defendant shall support his or her dependents and meet other family responsibilities;
5) the defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training,or
         other acceptable reasons;
6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
         controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
9) the defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person
         convicted of a felony unless granted permission to do so by the probation officer;
10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit
         confiscation of any contraband observed in plain view of the probation officer;
11) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law
         enforcement officer;
12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without
         the permission of the court;
13) as directed by the prob. officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's
         criminal record or personal history or characteristics, and shall permit the probation officer to make such notifications
         and to confirm the defendant's compliance with such notification requirement.
14) the defendant shall cooperate, as directed by the probation officer, in the collection of DNA, if applicable, under the
         provisions of 18 U.S.C. §§ 3563(a)(9) and 3583(d) for those defendants convicted of qualifying offenses.
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                                                                                                            Judgment 3
AO 245B (Rev. 12/03) Judgment in a Criminal Case: Sheet 5, Part A - Criminal Monetary Penalties
Defendant: LATOYA MCKENZIE, a/k/a Latoya Nefateria McKenzie
Case Number: 1:05-CR-00180-003

                           CRIMINAL MONETARY PENALTIES
       The defendant shall pay the following total criminal monetary penalties in accordance with the
schedule of payments set forth on Sheet 5, Part B.

                                  Assessment                        Fine                      Restitution
          Totals:                 $100.00                           $                         $

()        The determination of restitution is deferred until      . An Amended Judgment in a Criminal
          Case (AO 245C) will be entered after such a determination.

()        The defendant shall make restitution to the following payees in the amounts listed below.


If the defendant makes a partial payment, each payee shall receive an approximately proportional payment unless
specified otherwise in the priority order or percentage payment column below. (or see attached)
However, pursuant to 18 U.S.C. § 3644(i), all nonfederal victims must be paid in full prior to the United States
receiving payment.

Name(s) and                       *Total                    Amount of                         Priority Order or
Address(es) of Payee(s)           Amount of Loss            Restitution Ordered               % of Payment




          TOTALS:                          $                        $

()        If applicable, restitution amount ordered pursuant to plea agreement. $

()       The defendant shall pay interest on any fine or restitution of more than $2,500, unless the fine or restitution
is paid in full before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the
payment options on Sheet 5, Part B may be subject to penalties for default, pursuant to 18 U.S.C. § 3612(g).


()        The court determined that the defendant does not have the ability to pay interest and it is ordered
that:
     ()      The interest requirement is waived for the  () fine and/or () restitution.
     ()      The interest requirement for the () fine and/or () restitution is modified as follows:




     * Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18, United
     States Code, for offenses committed on or after September 13, 1994 but before April 23, 1996.
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                                                                                                                  Judgment 4
AO 245B (Rev. 12/03) Judgment in a Criminal Case: Sheet 5, Part B - Schedule of Payments
Defendant: LATOYA MCKENZIE, a/k/a Latoya Nefateria McKenzie
Case Number: 1:05-CR-00180-003
                                     SCHEDULE OF PAYMENTS
Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties shall be due
as follows:

    A        (X) Lump sum payment of $ 100.00            due immediately, balance due
             () not later than       , or () in accordance with () C, () D, () E or () F below; or
    B        () Payment to begin immediately (may be combined with () C, () D, () E or () F below); or
    C        () Payment in       (e.g., equal, weekly, monthly, quarterly) installments of $     over a
             period of      (e.g., months or years), to commence                      (e.g., 30 or 60 days) after the date
             of this judgment; or
    D        () Payment in        (e.g., equal, weekly, monthly, quarterly) installments of $         over a
             period of     (e.g., months or years), to commence          (e.g., 30 or 60 days) after release
             from imprisonment to a term of supervision; or
    E        () Payment during the term of supervised release will commence within     (e.g., 30 or 60
             days) after release from imprisonment. The court will set the payment plan based on an
             assessment of the defendant's ability to ay at that time; or
    F        () Special instructions regarding the payment of criminal monetary penalties:

    Unless the court has expressly ordered otherwise in the special instructions above, if this judgment
    imposes a period of imprisonment payment of criminal monetary penalties shall be due during the period
    of imprisonment. All criminal monetary penalty payments, except those payments made through the
    Federal Bureau of Prisons' Inmate Financial Responsibility Program, are to be made to the clerk of
    court, unless otherwise directed by the court, the probation officer, or the United States attorney.

    The defendant will receive credit for all payments previously made toward any criminal monetary penalties
    imposed.


    ()       Joint and Several:
    ()       The defendant shall pay the cost of prosecution.
    ()       The defendant shall pay the following court cost(s):
    ()       The defendant shall forfeit the defendant's interest in the following property to the United States:


Payments shall be applied in the following order: (1) assessment; (2) restitution principal; (3) restitution interest, (4) fine
principal; (5) community restitution, (6) fine interest (7) penalties, and (8) costs, including cost of prosecution and court
costs.
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Judgment in a Criminal Case: Sheet 3 Continued - Supervised Release
Defendant:   LATOYA MCKENZIE, a/k/a Latoya Nefateria McKenzie                                Judgment - Page 3A
Case Number: 1:05-05-00180-003


                          SPECIAL CONDITIONS OF SUPERVISION
1) The defendant shall participate in the Home Confinement Program for a period not to exceed four
consecutive months, without electronic monitoring. During this time, the defendant shall remain at her place
of residence at all times and shall not leave except when such leave is approved in advance by the Probation
Office, to include employment.

2) The defendant shall participate in a program of testing and treatment for drug and/or alcohol abuse as
directed by the Probation Office.
